John D. Jarrell, PhD, PE

EDUCATION- ScB, Materials Science and Engineering, Brown University, Providence, Rhode Island, May 1988.
MSc, Materials Science and Engineering, Brown University, Providence, Rhode Island, May 1991.
Professional Engineer License (PE), Mechanical Engineering, Rhode Island, February 14, 1996.
PhD, Biology, Medical Science and Engineering, Brown University, Providence, Rhode Island, May 2008.

Dr. John D. Jarrell, PhD, PE, is an experienced multi-discipline engineer specializing in the analysis of complex designs and
failures involving materials, mechanical and biological systems. He has been a licensed Professional Mechanical Engineer,
since 1996 and actively involved in engineering analysis, design, product development and research. He earned three degrees
from Brown University, a Bachelors and Masters of Science in Materials Science and Engineering and a Doctorate in Biology,
Medical Science and Engineering and received Medical training in histology, physiology, microbiology and pathology. He has
an appointment in the Department of Orthopaedics at the Alpert Medical School of Brown University. He has several US and
foreign patents issued or pending covering photoactive materials, active delivery films and coatings for green energy and
medical applications. He is the author of multiple peer reviewed publications and abstracts on materials and coatings and a
guide book on materials selection for designers. His collaborative work has been published with investigators at Brown
University Department of Molecular Pharmacology, Physiology, and Biotechnology, and the Division of Engineering, Rhode
Island Hospital’s Orthopedic Research Laboratories and the VA Center for Restorative and Regenerative Medicine. His
company has been awarded contracts by the Department of Veterans Affairs, Rhode Island Hospital and the US Department of
Justice. He has been a voting committee member of ASTM for standards on Medical and Surgical Materials and Devices,

SOCIETY AFFILIATIONS- ASTM Intl.; Orthopaedic Research Society (ORS); Society for Biomaterials; National Society
of Professional Engineers (NSPE); American Society for Materials, International (ASM); International Metallographic Society
(IMS); Heat Treating Society (HTS); Society of Carbide and Tool Engineering (SCTE); Electronic Device Failure Analysis
Society (EDFAS); Society for Automotive Engineering International (SAE); Surfaces in Biomaterials Foundation;
International Association for Property and Evidence (IAPE), The International Congress for Joint Reconstruction (ICJR)

CERTIFICATIONS-Hazardous Waste, Laboratory Safety, Blood Borne Pathogens (Brown University), Electrosurgery CE
Module (Valleylab, Institute of Clinical Education), Human Participant Protections Education for Research Teams (National
Institutes of Health), CITI Course in The Protection of Human Research Subjects

AWARDS & HONORS- 1) Best in Show, 1*, 2" & 3" Place Awards for Microscopy, ASM Intl., RI Chapter, 1994. 2) Sigma
Xi Honor Society. 3) 2009 Entrepreneur Track Winner of the RI Business Plan Contest. 4) RI House of Rep. Citation for
developing a propriety technology to thwart infection relating to medical device use, May 2009. 5) RI House of Rep. and
Secretary of State, Certificate of Congratulations, (Res. 09-264) June 2009. 6) 2010 Rhode Island Innovation Award in the
category of Health Care & Biotechnology Innovations.

EMPLOYMENT & APPOINTMENTS
Teaching Associate in Orthopaedics, February 1, 2010 through June 30, 2016, Department of Orthopaedics, Alpert Medical

School, Division of Biology and Medicine, Brown University.

Founder, President and Managing Director January 2009 to present, BIOINTRAFACE INC., North Kingston, RI. Coordinates
R&D and intellectual property for comprehensive collaborative development of Basic Science Research into practical medical
technologies and treatments for medical devices and implants.

President, April 1993 to present, MMATERIALS SCIENCE ASSOCIATES, LLC, East Greenwich, RI. Biomedical
Engineering, Metallurgical, Materials Science & Mechanical Engineering consulting services for Government, Hospital, Legal,
Insurance, Medical, and Manufacturing needs. Performs failure analysis, materials, process and site evaluations, biomaterial
and medical implant design and testing, fabrication and surgery, professional reports, oral presentations & expert opinions.

Materials Science Engineer, March 1991 to March 1993, Thielsch Engineering Inc., Cranston, RI. Provided engineering and
failure analyses for local clients, including analysis of fastener systems, pressurized vessels and piping, electrical components,
bearings, medical devices & coatings, nuclear components, manufacturing processes, materials and process selection.
Specialized in fractography, chemical & corrosion analysis. Received in-house training from Helmult Thielsch, Sr., PE.

Research and Teaching Assistant, September 1989 to February 1991, Brown University, Department of Advanced Materials
Research, Providence, RI. Performed initial investigation of a lightweight aerospace material for Martin Marietta Laboratories,
with enhanced room temperature fracture toughness to encourage commercial use. Investigated effect of high rate pressure-
shear on copper foils, funded by the Office of Naval Research.

Engineering Investigator, March 1987 to September 1989, Avery Technical Services (ATS), Inc., Barrington, RI.

Investigated, analyzed, and documented industrial, home and automotive incidents involving mechanical and material failures

for legal and insurance purposes. Specialized in personal and industrial accident reconstructions. aan
EXHIBIT

014 = John D Jarrell, PhD, PE info@materialsscience.org 1(800) 672-6721 Page |1 C

RESEARCH PUBLICATIONS

Nathan P, Thomas, Nhiem Tran, Phong A. Tran, Jerry L. Walters, John D. Jarrell, Roman A. Hayda, Christopher
T. Born, Characterization and Bioactive Properties of Zirconia based Polymeric Hybrid for Orthopedic
Applications, Journal of Materials Science: Materials in Medicine (In Press)

Matthew D. Young, Nhiem Tran, Phong A. Tran, John D. Jarrell, Roman A. Hayda, Christopher T. Born.
Niobium oxide—polydimethylsiloxane hybrid composite coatings for tuning primary fibroblast functions, J Biomed
Mater Res A, JUNE 24, 2013.

Nhiem Tran, Phong Tran, John D Jarrell, Julie Engiles, Matthew Young, Nathan Thomas, Roman Hayda and
Christopher Born. In vivo Caprine Model for Osteomyelitis and Evaluation of Biofilm Resistant Intramedullary
Nails, BioMed Research International, vol. 2013, Article ID 674378, 11 pages, 2013. doi:10.1155/2013/674378

J. Jarrell, N. Thomas, M. Young, C. Baker, J. Morgan, P. Tran, N. Tran, R. Hayda, C. Born, Bioactive Hybrid
Material Surface Treatments for Infection Resistant Implants without Drugs, ASM, Medical Device Materials VI,
Proceedings from the Materials and Processes for Medical Devices Conference, August 8-10, 2011, Minneapolis,
Minnesota, USA, pg 143-148.

J. Jarrell, J. Walters, N. Thomas, M. Young, P. Tran, N. Tran, R. Hayda, C. Born. Improving the Bioresponse to
Polymers using Zirconium and Tantalum Hybridization, ASM, Medical Device Materiais V1, Proceedings from the
Materials and Processes for Medical Devices Conference, August 8—10, 2011, Minneapolis, Minnesota, USA,

pg 74-79,

Jarrell JD, Dolly B, Morgan JR. Rapid screening, in vitro study of metal oxide and polymer hybrids as delivery
coatings for improved soft-tissue integration of implants. J Biomed Mater Res A, Volume 924A, Issue 3, Pages
1094-1104, 1 March 2010.

Jarre JD, Dolly B, Morgan JR. Controlled release of vanadium from titanium oxide coatings for improved
integration of soft tissue implants. J Biomed Mater Res A, Volume 904A, Issue 1, Pages 272-281, June 2009.

Jarrell JD. Active metal oxides and polymer hybrids as biomaterials. PhD Thesis, Brown University, Providence
RI, USA 2008.

Jarrell JD, Eun TH, Samale M, Briant C, Sheldon BW, Morgan JR, Metal Oxide Coated (MOC) Cell Culture
Arrays for Rapid Biological Screening. Journal of Biomedical Materials Research: Part A 2007;83A:853-860.

JD Jarrell, Dislocation Structures of OFHC Copper Deformed by High Rate Pressure-Shear, Master’s Thesis:
Brown University, Providence, RI, May 1991,

ABSTRACTS

Nhiem Tran, Michael N. Kelley, John D. Jarrell, Roman A. Hayda, Christopher T. Born, Silver Doped Titania —
Siloxane Hybrids: Novel Coatings for Improving Antibacterial Property of Polyether Ether Ketone (PEEK), The
Stevens Conference: The 2™ Conference on bacteria-Materials Interactions, Hoboken, NJ, June 2013.

J.D, Jarrell, N. Tran, P.A. Tran, J. Engiles, R.A. Hayda, C.T. Born. Bioactive hybrid materials coating for
infection resistant implants and devices, Hybrid Materials 2013, Third International Conference on Multifunctional,
Hybrid and Nanomaterials, Sorrento, Italy, March, 2013.

J.D. Jarrell, N. Tran, R.A, Hayda, C.T. Born, Antimicrobial silver release from titanium oxide polymer hybrid
coated PEEK, Hybrid Materials 2013, Third International Conference on Multifunctional, Hybrid and
Nanomaterials, Sorrento, Italy, March, 2013,

a4 = John D Jarrell, PhD, PE info@@materialsscience.org 1(800) 672-6721 Page |2

Jarrell JD; Tran N; Born CT. Improving the Bioactive properties of Polyether ether ketone (PEEK) with
Antimicrobial Titanium Oxide Hybrid Coatings. 59th Annual Meeting of the Orthopaedic Research Society, San
Antonio, Texas, January 2013.

Tran N, Tran PA, Baker C, Jarrell JD, Hayda RA, Born CT. In vitro and in vivo evaluation of bioactive hybrid
materials coating for infection resistant implants. Journal of Tissue Engineering and Regenerative Medicine,
Proceeding of TERMIS 2012.

Jarrell JD; Tran PA; Baker C; Morgan JR; Hayda RA; Born CT. Bioactive Hybrid Material Surface Treatments
for Infection Resistant Implants without Drugs, ASM, Materials and Processes for Medical Devices 2011, Annual
Meeting and Exposition: Minneapolis, MN, USA, August 8-10, 2011.

Tran PA; Jarrell JD; Baker C; Hayda RA; Born CT. Improving the Bioresponse to Polymers using Zirconium and
Tantalum Hybridization, ASM, Materials and Processes for Medical Devices 2011, Annual Meeting and
Exposition: Minneapolis, MN, USA, August 8-10, 2011.

Jarrell JD; Tran PA; Baker C; Morgan JR; Hayda RA; Born CT. Surface Treatments for Orthopaedic Implants
which Prevent Bacteria Growth and Support Cell Proliferation, Society For Biomaterials 2011 Annual Meeting and
Exposition: Orlando, Florida, April 13 - 16, 2011.

Tran PA; Jarrell JD; Baker C; Morgan JR; Hayda RA; Born CT. Effects of Addition of Transition Metal Oxides to
Polymer on Growth of Human Cells, Society For Biomaterials 2011 Annual Meeting and Exposition: Orlando,
Florida, April 13 - 16, 2011.

Jarrell, J D; Young M D; Walters J L; Trans P; Born, C T. Transitional Metal Oxide Hybrid Surface Treatments
for Bioactive and Antimicrobial Orthopaedic Trauma Implants, 57th Annual Meeting of the Orthopaedic Research
Society, Transactions Vol. 36, No. 1550, Long Beach, CA, January 2011,

Tran PA; Jarrell J D; Young MD; Walters JL; Hayda RA; Born CT. Hybrid Surface Treatments for Bioactive and
antimicrobial Orthopaedic Trauma Implants, 18" Annual Hospital Research Celebrations, Rhode Island Hospital,
October 21, 2010.

Jarrell, J D; Spenciner, D; Morgan, J R; Hayda, R A; Born, C T. Antimicrobial Hybrid Coatings for External
Fixation Pins, Society For Biomateriais 2010 Annual Meeting; April 21 - 24, 2010 in Seattle, Washington, USA.

Jarrell, J D; Puckett, 8; Morgan, J R; Hayda, R A; Born, C T. Durability of Bioactive, Antimicrobial Biointerface
on External Fixation Pins, 56th Annual Meeting of the Orthopaedic Research Society, New Orleans, Louisiana,
Transactions Vol. 35, No. 2177, New Orleans, LA, 2010.

Jarrell, J D; Werlin, EC; Weinstock, B; Puckett, S D; Morgan, J R; Ciombor, D M; Aaron, R K. Rapid
Development of Photoactive Solid State Dispersions as Biointerfaces for Orthopaedic Implants, Hybrid Materials
2009, First International Conference on Multifunctional, Hybrid and Nanomaterials, Transactions, A1.3.07, Tours
France, March, 2009.

Jarrell, J D; Werlin, E C; Weinstock, B; Puckett, S D; Morgan, J R; Ciombor, D M; Aaron, R K. Rapid
Development of Biointerfaces for Antimicrobial Transcutaneous Osseointegrated Implant Devices (TCOIDs). 55th
Annual Meeting of the Orthopaedic Research Society, Transactions Vol. 34, No. 0555, Las Vegas, NV, February,
2009,

John D Jarrell, Evan C Werlin, Sabrina Puckett, Jeffrey R Morgan. Active metal oxide and polymer hybrid
coatings for antimicrobial devices. Biolnterface 2008, Annual Symposium, Surfaces in Biomaterials Foundation,
Min., MN, October, 2008.

Evan C. Werlin, John D. Jarrell, Jeffrey R. Morgan, The Effect of Precursor Selection and Coating Thickness on
the Photoactivity of a Novel Metal-Polymer Hybrid. 34th Annual North East Bioengineering Conference, April 4-6,
2008.

oi4 = John D Jarrell, PhD, PE info@materialsscience.org 1L(800} 672-6721 Page |3

JD Jarrell, EC Werlin, JR Morgan. Novel light-activated antimicrobial controlled delivery polymer hybrids for
osseointegrated transcutaneous devices. 54th Annual Meeting of the Orthopaedic Research Society, Transactions
Vol. 33, No. 1729, San Francisco, CA March, 2008.

John D Jarrell and Jeffrey R Morgan. Bioactive Polymer Hybrids to Improve the Soft Tissue Seal Around
Percutaneous Devices. Biolnterface 2007, Annual Symposium, Surfaces in Biomaterials Foundation, San Mateo,
CA, October 31, 2007.

John D. Jarrell, Jeffrey R. Morgan, Bioactive Polymers for Soft Tissue Sealing of Osseointegrated Prosthetic
Attachments, 6th Combined Meeting of the Orthopaedic Research Societies, Honolulu, Hawaii, No. 0063, October
21-24, 2007

Morgan, |.R., farrell, J.D., Holt, B., Tripathi, A.., and Aaron, R.IS. Optimizing the Soft Tissue Seal of a
Percutaneous Osseointegration Device. No Barriers Symposium, Squaw Valley, CA, June 30, 2007.

Morgan, J.R., Jarrell, J.D., Holt, B., Tripathi, A.. Webster, T., Ciombor, D.M., and Aaron, R.K.. Optimizing the
Soft Tissue Seal of a Percutaneous Osscointegration Device. 4th International Meeting, Ten Years of the US-
Russian Prograin in Prosthetics and Rehabilitation, New England Sinai Hospital, Stoughton, MA, June 18, 2007,

John D. Jarrell, Tai Hee Eun, Marcus Samale, Clyde Briant, Brian W. Sheldon, Jeffrey R. Morgan, Use of
specialized metal oxide films for delivery of bioactive metal compounds, Orthopaedic Research Society,
Transactions Vol. 32, No. 1590, San Diego, CA, 2007.

JD Jarrell, Crisco, J.J.*, Moore, D.C.*, McGovern, R.D.*, Coating of Stainless Steel Bone Cutting Devices
Enhances Functional Performance, Society for Biomaterials, 23 rd Annual Meeting in conjunction with the 29th
Internationals Biomaterials Symposium, New Orleans, Louisiana, April-May 1997, vol. xx, pg 416. (*Orthopedic
Research Laboratories, Rhode Island Hospital)

ID. Jarrell, A Non-Wetting, Conductive Coating Replacement for Teflon (PTFE) in Surgical Applications,
Surfaces in Biomaterials ‘94, Scottsdale, Arizona, September 1994.

JD Jarrell, Chemical Passivation of Stainless Steels Eliminated By Using ME-92 Chromium Composition Coating,
Society for Biomaterials, 20th Annual Meeting in conjunction with the 26th Internationals Biomaterials
Symposium, Boston, Massachusetts, April 1994

RJ Clifton, W Tong, JD Jarrell, Brown University, Disiocation Structures and the High Rate Deformation of Pure
Metals, Greece Symposium, 1990.

INDUSTRY PUBLICATIONS

Jarrell JD., Biolntraface®: The Next Quantum in Medical Devices. R I Med J (2013). 2013 Feb 1;96(2):26-8.

JD Jarrell and Frank Bejbl, Medical Plastics and Biomaterials: Special Section, Understanding Wear and Friction
in Medical-Grade Stainless Steels, Medical Device & Diagnostic Industry, Canon Communications, August 1999,
pg 50-57.

JD Jarrell, Safe, Smooth, Stable Coating Alternative to Teflon, Job Shop Technology Magazine, Prospect, CT,
April 1998.

JD Jarrell, Improper Cleaning of Stainless Steels can Cause Delayed Cracking, Job Shop Technology Magazine,
Prospect, CT, November 1994,

JD Jarrell and Frank Bejbl, Versatile Coating for Stainless Steel, Medical Materials Update, BBC, Inc.,
Publication, Norwalk, CT, USA, Volume 1, Number 5, June 1994.

ovl4 = John D Jarrell, PhD, PE info(@materialsscience.org 1(800) 672-6721 Page [4

JD Jarrell, Chemical Passivation of Stainless Steels Eliminated By Using ME-92 Chromium Composition Coating,
Job Shop Technology Magazine, July 1994.

JD Jarrell, Chemical Passivation of Stainless Steels Eliminated By Using ME-92 Chromium Composition Coating,
Medical Equipment Designer Magazine, March 1994.

BOOKS

JD Jarrell, The Medical Device Designer’s Guide to Wear and Friction, ME-92 Operations, Providence, Rhode
Island, USA, April 1995.

BULLETINS

JD Jarrell, Using Medical Grade Coating Technology to Address Nickel Sensitization, ME-92 Operations
Bulletin Report, by Materials Science Associates, Providence, RI, May 6, 1994.

JD Jarrell, Improving the Wear, Galling and Frictional Characteristics of Medical Instruments with ME-92®
Coating, ME-92 Operations, Internal Report by Materials Science Associates, Providence, RI, November 1993.

JD Jarrell, Use of ME-92 Coating to Reduce the Risk of Exposure to Bioreactive Nickel-Bearing Materials,” ME-
92 Operations Bulletin Report, by Thielsch Engineering Inc., Cranston RI, April 22, 1993.

SEMINAR PRESENTATIONS

Invited Speaker: Trends & Opportunities in the Engineering Industry
CareerBuilder.com, WebEx Conference, December 5, 2008.

Active metal oxide and polymer hybrid coatings for antimicrobial devices
BiolInterface, Workshop and Symposium, Antimicrobial Surfaces Session, Minneapolis, MN, October 28,
2008.

Novel light-activated antimicrobial controlled delivery polymer hybrids for osseointegrated transcutaneous
devices.
54th Annual Meeting of the Orthopaedic Research Society, March, 2008.

Bioactive Polymers for Soft Tissue Sealing of Osseointegrated Prosthetic Attachments,
6th Combined Meeting of the Orthopaedic Research Societies, Honolulu, Hawaii, October, 2007

Advanced Bioactive Hybrid Materials for Percutaneous Devices,
Rhode Island Hospital, Grand Rounds, Student Research Day, May 23, 2007

Use of specialized metal oxide films for delivery of bioactive metal compounds
Orthopaedic Research Society, San Diego, CA, February, 2007.

Rapid biological screening of metal-organic coatings for percutaneous devices,
Regional Bioengineering and Biotechnology Conference U. Mass. Dartmouth, February 9, 2007

Invited Speaker: Fatigue failure of a stainless steel propeller shaft,
National Association of Marine Surveyors, New England Region, December, 2001

Invited Speaker: Metallurgical failure analysis,
National Association of Marine Surveyors, New England Region, November 5, 1999

A Non-Wetting, Conductive Coating Replacement for Teflon (PTFE) in Surgical Applications,
014 = John D Jarrell, PhD, PE info@materialsscience.org 1(800) 672-6721 Page [5

Surfaces in Biomaterials ‘94, Scottsdale, Arizona, September 1994

Chemical Passivation of Stainless Steels Eliminated By Using ME-92 Chromium Composition Coating, Society for
Biomaterials, 20th Annual Meeting in conjunction with the 26th Internationals Biomaterials Symposium,
Boston, Massachusetts, April 1994,

INVITED REVIEWER FOR:
Journal of Biomedical Materials Research: Part A
Official Journal of the Society for Biomaterials (USA)
John Wiley & Sons, Inc., 111 River Street, Hoboken, NJ 07030, USA

Medical Science Monitor
International Medical Journal for Experimental and Clinical Research
International Scientific Literature, Inc. 36] Forest Lane, Smithtown, NY 11787, USA

Tissue Engineering
Mary Ann Liebert, Inc., 140 Huguenot Street, 3rd floor, New Rochelle, NY 10801-5215

Journal of Material Science: Materials in Medicine
Springer Publishing, 15th floor, Salmon Tower Midtown Manhattan, New York City, NY

PATENTS & APPLICATIONS
United States Patent 7868078, Composition including metal oxide and polymer

United States Patent 8080223, Methed of making a composite from metal oxide and polymer precursors

US Applications: 20090104095, 12/253530 (Utility, Patent pending) Filed 10/17/2008
Method of Making a Composite from Metal Oxide and Polymer Precursors

20090105384 (12/253555), 20090104473 (12/253354) (Utility, Patent pending) Filed 10/17/2008
Novel Compositions and Related Methods, Coatings, and Articles

20110092870 (12/975,218) Filed 12/21/2010
Composition including metal oxide and polymer

US 60/981263 Filed 10/19/2007 (provisional application)
Novel Compositions and Related Methods, Coatings, and Articles

US 61/556184 Filed 12/05/201 I (provisional application)
Muiti-layer metal oxide and polymer controlled delivery systents

International Application
PCT/US08/80371, Filed 10/17/2008
Novel Compositions and Related Methods, Coatings, and Articles

RESEARCH & CONSULTING CONTRACTS

US Department of Justice 7/201 1 6/29/2012 $23,850.50
United States Attorney's Office

Thomas H. Barnard, Esq.

36 S. Charles Street, 4th Floor

Baltimore, Maryland 21201

Contract 11 W-USA37-0090

ovl4 John D Jarrell, PhD, PE info(@materialsscience.org L800) 672-6721 Page {6

Expert Consultant on behalf of the US. Aided defense counsel in a Medical Malpractice case involving a failed
electro-surgical forceps used in a laparoscopic gynecological procedure, hysterectomy.

Airlift Research Foundation (Sub-award) 1/1/2010-1/1/2012 $101,863

In Vitro Optimization and Large Animal Study of Anti-infective, Bioactive Intramedullary (IM) Nails: This
project involves a two year multi-disciplinary effort, optimizing promising nano-technology hybrid surface
treatments and applying them fracture fixation implants were are exposed to drug-resistant bacteria and placed in
large animals. There is twelve months of in vitro work to measure the responses of human cells and bacteria to a
series of nano-scale surface treatments, metal oxides and polymer hybrids. This is followed by in vivo testing of
bacterial inoculated bone screws in a large animal model during the second year. Our goal is to find and test the
next generation of bioactive surfaces that actively inhibits bacteria biofilm formation and maximizes bone growth
and fracture repair. The animal study is a necessary part of the pre-clinical process leading to an approved human
study, A favorable outcome from this pre-clinical research is intended to lead to an FDA approved follow-up clinic
study.

Orthopaedic Trauma Research Fund 1/1/2009-7/1/2010 $188,462

Rhode Island Hospital

Providence, RI/USA

A Bicortical Half Pin Mini-pig Model to Evaluate New Bio-interfaces: This project involves coordinating a
multi-discipline approach to the development of large animal models for evaluation the tissue integration and
antimicrobial properties of novel biomaterials developed for internal and external fixation devices and bone
integration and skin attachment to transcutaneous osseointegrated devices for prosthetic attachment and the
treatment of segmental bone defects. A roundtable approach is taken, involving trauma research clinicians,
biologists and engineers from academics, hospitals and industry. A high throughput in vitro screening approach is
used to validate coating compositions with optimized antimicrobial, cell proliferative and adhesive properties and
applied to stainless steel, titanium alloy and composite implants.

VA24-P-0464 (Contract Consultant) 2/1/08-12/30/08 $104,000

Department of Veterans Affairs

VMAC, Providence, RI/USA

Study: Bone and Skin Attachment for Prosthetic Attachment: This is an investigation of bone integration and
skin attachment to transcutaneous osseointegrated devices for prosthetic attachment and treatment of segmental
bone defects. The goal is a combine device for use in the repair of traumatic injuries. Biomaterials, device design
and surgical approaches are coordinated between multiple disciplines, Biology, Medicine and Engineering nano
technology, to address the need for implants which improve healing of segmental bone defects, osseointegration,
soft tissue sealing, while preventing infection. A high throughput in vitro screening approach is used to determine
coating compositions with optimized antimicrobial, cell proliferative and adhesive properties and applied to
titanium alloy and composite implants. Developed small and large animal models,

oid = John D Jarrell, PhD, PE info@materialsscience.org L{800) 672-6721 Page |7

PARTIAL INVESTIGATION LIST

The following is a partial list of companies and projects Mr. Jarrell has investigated, during his various
engagements. A brief description of the services provided is included.

3M Health Care, Surgical Division*, St. Paul, MN
Analysis of medical stapling devices and wires.

ACS Industries, Woonsocket, RI
Characterization of composite materials, plastics, ceramics and metals.

Aeolus Medical Inc.,
Worked on design of preheat breathing mask.

ATC Associates, Inc., Miami, FL
Analysis of water piping system in high rise building.

Advanced Cable Ties, Inc., Ashburnham, MA
Site mspection of plastic extrusion press components,

Advanced Interconnections, West Warwick, RI
Analysis of microelectronics components.

Aeroquip Corporation, Maumee, OH
Materials analysis and interpretation of hydraulic forging blanks.

Allied Signal, Inc., Perrysburg, OH
Inspection of oil filters.

Allstate Insurance, Roanoke, VA

Review of new and replacement automotive sheet metal panel manufacturing and material specifications,
galvanization processes and related SAE & CAPA documents for defense of class action suit. Review of repair
welding methods for automotive repair and influence on subsequent value of repaired.

Amtrol, Warwick, RI
Corrosion analysis of pressurized vessels used in fresh water and heating systems.
Analysis of welds, brazing, coatings, and corrosion.

Ambrust Chain, Providence, RI
Analysis of chain material and detection of surface sulfur contamination.

Atwood and Morrill, Salem, MA
Analysis of a nuclear poppet valve, with a hard faced sealing surface.

Bard Ventures Division, Tewsbury, MA
Analysis of infrared power sources for medical applications.

Bath Iron Works Corporation, Bath, ME
Abrasive particle analysis involving marine hydraulic system.

Borg-Warner, MA
Analysis of failed transmission components and fluids. Determined extent of system damage from oil particle
analysis.

Bird Johnson Company, Walpole, MA

oi4 = John D Jarrell, PhD, PE info(@materialsscience.org £(800) 672-6721 Page [8

Analysis of submarine power transmission units, bearing surfaces and lubricants. Determined root cause and extent
of system damage from oil particle analysis and source of galling to propeller bearings on submarine transmission.
Specified corrective measures.

Brewer Yatch Haven Marina, Stamford, CT
Analysis of 2 1/4" stainless steel marine shaft.

CJC Holdings, Inc., Austin, TX
Provided prototype black coating for stainless steel! rings.

Crosby Valve and Gauge Company, Wrentham, MA
Analysis of safety valves, pressure relief valves and lead diaphragms, Investigated a series of diaphragms used in
train cars carrying liquid chlorine.

Davis Standard, Pawcatuck, CT
Analysis of large extrusion gears and heat treatment of clutch plates from industrial equipment. Analyzed bearings.

Dayton MFG, Farmington, CT
Analysis of multiple lots of heat treated and gold plated electrical contact springs.

Electric Boat Corp., Groton, CT
Corrosion testing, inspection and process recommendations for conversion coating on aluminum alloy enclosure.

Electrolyzing, Inc., Providence, RI
Multiple analyses on industrial devices, involving welds, brazing, corrosion and cleaning. Technical support of
coating process and products.

f. h. chase, incorporated, Foxboro, MA
Analysis of anodized clean air room ceiling grid.

Fisher Controls, North Stonington, CT
Investigated valve seals, Teflon materials, and other components of pressurized vessels and piping.

Flour Daniel, Sugarland, TX
Analysis, fractography and technical support involving heating systems and related industrial systems.

Fermont, Bridgeport, CT
Analysis of small engine crankshafts and components involved in government contract.

Federal Products, Providence, RI
Analysis of gauge housings, components and materials.

Foam Technology, North Providence, RJ
Review of compatibility of various plastics and composites used to construct cruise ship golf course. Analysis and
testing of various foam plastic and composite materials,

Garelick Farms, Inc., Franklin, MA
Analysis of air conditioning and refrigeration system piping.

Gastro-Gnomes, West Hartford, CT
Designed and manufactured high friction, magnetic bases for plastic table menu holders.

Gilson, Inc., Middleton, WI

Analysis of thin tubing used in corrosion environment. Custom designed and manufactured conductive contact
analytical probes for use in their medical testing equipment.

014 = John D Jarrell, PhD, PE info@materialsscience.org 1(800) 672-6721 Page |9

Grinnell Corporation, Cranston, RI
Analysis of components involved in fire sprinklers. Analysis of piping components and welding procedures.

Handy and Harman, East Providence, RI
Analysis of clad material corrosion.

Idea Tech Inc., Providence, RI
Worked on designing fabric based breath heat exchanger,

InteHigen Energy Systems, Inc., Hopkinton, MA
Analysis of cogeneration heat exchanger design and materials selection. Analysis of aluminum clutch components
and bolts from diesel engine used in electrical cogeneration.

Jamestown Marine Service, inc., Jamestown, Rl
Analysis of weldments in 100 foot aluminum passenger ship.

Johnson & Johnson, MA
Specialized materials analysis and evaluations for medical applications.

Key Drawers, Inc, Valencia, CA
Designed electrical nickel plated contact for automotive key inventory system. Responsible for final design of
injection molded plastic ICU body and quality control of contacts and molded body fit.

Latex Foam Produets, Ansonia, CT
Inspection of foam molds after warehouse fire.

Maritime Consultants, Inc., Bristol, RI
Analysis of marine components, propeller shafts, marine enigine valves.

Masoneilan, Avon, MA
Corrosion analysis of electrical and monitoring devices.

ME-92 Operations, Providence, RI

Muitiple analyses on surgical devices involving, heat treatment, welds, brazing, corrosion, improper cleaning,
forming and materials. Performed extensive corrosion, friction, wear and galling studies of stainless stee] and
proprietary coating technologies. Presented results of research studies to international society meetings.
Commissioned to author a designer guide to the wear and friction of stainless steels and coatings.

McCallum Enterprises I LP, Stratford, CT,
Shaft analysis and inspection of two horizontal hydroelectric turbine units at Derby Dam Project, Shelton, Ct..

Milwaukee Valve Company, Milwaukee, WI
Analysis of industrial stainless steel valves and surface conditions. Investigated proper processing techniques.

New England Power, MA
Investigated DC power converter used in long range power transmission from Canada and redistribution to the

Northeast. Determined corrosion mechanism and root cause in ultra pure water system.

Nutmeg Companies, Inc., Norwich, CT
Analysis of piping system and steam bellows installed at Naval Submarine Base, Groton, CT.

Parker Aerospace, Waltham, MA
Analysis of helicopter shafts and fatigue study.

Pelton and Crane (A Siemens Company), Charlotte, NC

ovt4 John D Jarrell, PhD, PE info@materialsscience.org L(800) 672-6721 Page |10

Investigated manufacture, cleaning, surface finish and welding of stainless stee] autoclave, pressure vessels for
dental instrument sterilization.

Pfizer, Inc., Groton, CT
Site evaluation and analysis of structural materials used in chemical facilities.

Sandretto Plastics Machinery, Middleburg Heights, OH
Inspection of plastic extrusion machine and platen.

Shawmut Equip. Co., Manchester, CT
Field inspection of heavy crane carrier involved in fire.

Smith Nephew and Richards*, Memphis, TN
Review of welded stainless steel assembly.

Smith Nephew and Richards*, Bartlett, TN
Review of surgical cutting devices and edge evaluation.

Spacelabs Medical, Hamden, CT
Analysis of medical electrode.

Stanley Fastening Systems, East Greenwich, RI
Involved in numerous analysis on fasteners and driving mechanisms and housings.

Stryker Puerto Rico, Arroyo, PR
Review of materials processes and inspection of surgical components.

Swarovski America USA, Cranston, RI
Specified and performed simulated and accelerated environmental wear studies of enamel, crystals and adhesives.

Swift Textiles, Ine., Erwin, NC
Analysis of cast iron piping component from heating system and production line fan assembly.

Technical Materials, Inc., Lincoln, RI
Performed analytical studies on electrical and microelectronics components, and contact material. Components
involved in arson.

Thielsch Engineering Incorporated, Cranston, RI
Specified and performed analytical laboratory analysis for Professional Engineering Department involving failed
piping and pressure vessels, fires, arson cases, and industrial failures.

Travel leather, Peabody Mass
Inspection of failed stainiess steel hot water heating tank, used in ieather factory.

Triumvirate Environmental, Inc., Somerville, MA
Analysis and characterization of soil samples.

Truex Inc., Pawtucket, RI
Microstructural analysis of brass hose fittings to determine proper heat treatment.

United Plant Services, Inc., Bellingham, MA
Prescribed and used novel analytical techniques to identify numerous unknown substances to assist in-house

analysis of piping systems.

Valley Laboratories, Inc., Boulder, CO
Developed coatings and surface enhancements for stainless steel electrosurgical device.

o4 = John D Jarrell, PhD, PE info@materialsscience.org 1(800) 672-6721 Page |Hl

Vitrus, Inc., Pawtucket, RJ
Analysis of hermetically sealed high voltage junctions, used in compressor tanks to prevent shorting and fires.

Vollrath Company, Sheboygan, WI
Process analysis and site evaluation to determine cause of surface defects in deep drawn pressurized vessels used
for dental applications.

Westinghouse Operating Service, Bellingham, MA
Identified numerous unknown substances to assist in-house analysis of piping systems.

World Medical Manufacturing Co., Sunrise, FL
Testing of Nitinol stent wires and design of fatigue test equipment.

Zimmer, Orthopedic Implant Division*, Warsaw, IN
Surgical device design and testing. Recommendations involving surface coating enhancement.

* Star indicates: consulting performed through affiliation with another medical service company.

Partial List of Insurance and Legal Related and Consulting Clients

AHState Insurance Co.,
Design, manufacture and materials used for OEM and replacement auto sheet metal.

Amica Mutual Insurance Co., Providence, RI
Analysis of marine shaft.

Brown, Jacobson, Tillinghast, Lahan & King, P.C., Norwich, CT
Investigation of watercraft explosion and personal injury.

Corbally, Gartland and Rappleyea, Attorneys and Counselors at Law, Poughkeepsie, NY
Expert opinions regarding personal injury involving cookware,

Dussault & Zatir Office, New Bedford, MA
Expert opinions regarding personal injury on recreational equipment.

Deluca & Weizenbaum, LTD, Providence, RI
Investigation of ignition system involved in automobile fire.

Higgins & Slattery, Attorneys at Law, Providence, RI
Analysis of hand tools involved in personal injury.

Inman & Tourgee Attorneys at Law, Coventry, RI
Analysis of hand tools involved in personal injury.

Mare H, Richman, Inc., Consulting Engineers, Providence, RI

Litigation support services for numerous product liability cases for insurance companies and attorneys. Cases
involved piping systems, municipal waterlines, natural gas and home oil lines, CO production of stoves,
hydroelectric plants and turbines, machinery, surgical devices, dental appliances, material identification,
automobiles and other vehicles, slip and fall, ladders and defective products.

Gunster, Yoakley, Valdes-Fauli, Stewart, Miami, FL
Expert analysis and opinion of medical device prototypes, involved in patent dispute.

oid = John D Jarrell, PhD, PE info@materialsscience.org 1(800) 672-6721 Page |f2

Reuters Insight, Thomson Reuters
Engineering Industry and Medical Science expert.

Technical Network Consulting, Bala Cynwyd, PA
Registered expert for providing testimony, opinions and analysis for attorneys on a referral basis.

Travelers Property Casualty, Hartford, CT
Analysis of marine engine components.

The Pawtucket Legal Clinic, Pawtucket, RE
Materials analysis for sample involved in litigation.

Thielsch Engineering Incorporated, Cranston, RI

Specified and performed analytical laboratory analysis for Professional Engineering Department involving failed
piping and pressure vessels, fires, arson cases, and industrial failures.

ovi4 = John D Jarrell, PhD, PE info(@materialsscience.org 1(800) 672-6721 Page |13

Trials

08/24/2006
04/07/2005
09/16/2003
05/24/2000

10/05/1999
07/20/1992

Depositions
08/15/2013
07/23-24/2013
06/24/2013
05/08/2013
02/07/2013
11/13/2012
05/08/2010
04/16/2010
04/02/2010
02/05/2009
11/23/2004
04/01/2004
02/05/2004
08/19/2003
05/22/2003
03/16/2001
05/23/2000
05/1999
10/21/1998

05/1992

oi = John D Jarrell, PhD, PE

John D. Jarrell, PhD, PE

TRIALS, DEPOSITIONS AND ARBITRATIONS

Estate of Joseph W. Niemeczura
(Metal oxide formation on Cu)
Frances Lavita v. Charles Wright, M.D.

Hampden County Probate Court

Middlesex Superior Court, MA

(Stainless steel surgical skin staples and nickel allergy)

Maxner v. Cosco

(Battery operated electronic device)
Saied Kashani v. Mercedes
(Uniblade & windshield system)
Torchia v. Van Dorn Demag,
Hatara v. Turner Cooper Tools,
Division of Cooper Industries, Inc.
(propane/MAP tank explosion)

Tim Courson v, Wright

(Failed Ti modular hip neck}

Kilgore v. Synthes

(failed titanium spinal implants)

Steven Brown v. Snook, et. al.

(Duraform Bovine collagen in spinal surgery)
Penn Chiro. v. BCBSBA

(Spinal traction, roller table, massage chair)
Chad Boatman v, Synthes, et. al.
(Orthopaedic wrist screws)

Carpenter v American Medical Systems
(AMS monarch transvaginal mesh)

Cole v. LDR Holdings, et. al.

(New design spinal fusion implant)
Jennings v. Alsager, et al.

(Duragesic, fentanyl reservoir pain patch)
Auburn y, Johnson & Johnsen, Alza, et al.
(Fentanyl! reservoir pain patch)

D.A. West v. Alza Corp

(Fentanyl laminated reservoir pain patch)
Delbrook v. Aescualp, Inc.

(Stainless steel surgical ronguer)

FV Western Hunter-Casco Bay Diesel
(Marine transmission & converter)

Dixie Smith (Class Action) v. AllState

Seattle, WA
San Diego, CA

Rochester NY
US District Court of MA

US District Court, Middle Dis Georgia, Macon Div.
Firm: Fortson, Bentley and Griffin, P.A.
US District Court, Southern Georgia, Augusta Div
Firm: Blasingame, Burch, Garrard & Ashley
Sth District Court, Washington County, Utah
Firm: Aaron J. Prisbrey, PC
US District Court, N. District of IL, E. Div.
Firm: McDermott Will & Emery LLP
District Court, Orange County, TX
Firm: Provost Umphrey Law Firm
Superior Court, CA, County of San Bernardino
Firm: Albertson & Davidson, LLP
District Court, Smith County, TX
Firm: Martin Walker, PC
Superior Court, WA, King County
Firm: Heygood, Orr, Pearson
Superior Court, CA, County of Sacramento
Firm: Heygood, Orr, Pearson
Distr. Court, Trinity County, TX
Firm: Heygood, Orr, Pearson
Superior Court of WA, King County

Providence, RI

(Automotive sheet metal parts, fabrication and safety)

Maxner v. Cosco

(Battery operated toy)

Cecil E. Dodson v. Ford Motor Company
(Electrical switch/auto fire)

Serdin vy. USSC, Kaiser Foundation Hospitals

(Attorney: Patrick Emery, medical stapler}
Saied Kashani v. Mercedes

(Uniblade & windshield system)

ME-92 v. Smith Nephew

(Medical grade surface coating for stainless steels}

Turchiano v. Howmedica

(Spinal implant failure)

Hatara v. Turner Cooper Tools,
Division of Cooper Industries, Inc.
(Propane/MAP tank explosion)

info‘@materialsscience.org

Seattle, WA

RI Superior Court
Superior Court, CA
County of Sonoma

San Diego, CA
Memphis, TN

US District Court of NY

US District Court of MA

1(800) 672-6721 Page |14

Arbitrations

02/22/2011 Eric Grabowski v Kaiser Foundation; Shaieb, MD Hawati
(PEEK Shoulder Anchor)
07/2005 Travel leather, Peabody Mass v. Hartford Steam Boiler Boston, MA

(Stainless hot water tank, BINGHAM MCCUTCHEN LLP)

oid = John D Jarrell, PhD, PE info(@materialsscience.org 1(800) 672-6721 Page [15

REFERENCES

Dr. Jeffrey R. Morgan

Dr. Christopher T. Born, MD

Dr. Mare H. Richman, PE

Edward E. Angwin, Esq.

Jack Walker, Esq.

Co-Director, Graduate Program in Biomedical Engineering

Associate Professor of Medical Science and Engineering

Department of Molecular Pharmacology, Physiology, and Biotechnology

Brown University, G-B 393, Biomed Center
171 Meeting Street, Providence, RI 02912
Phone (401) 863-9419

jeffrey_morgan@brown.edu

Director of Orthopaedic Trauma, Rhode Island Hospital
2 Dudley Street, Suite 200, Providence, RI 02905
Professor of Orthopaedic Surgery,

The Alpert Medical School of Brown University
Providence, RI 02912
Phone (401) 457-1562

christopher born(@brown.edu

President, Mare H. Richman, Inc., Consulting Engineers,
Professor of Materials Science and Engineering (ret.)
Brown University, Department of Engineering

One Richmond Square, Providence, RI 02906.
Phone (401) 751-9656

Angwin Law Firm (Fentanyl Patch Cases)

750 Laurel Ranch Road

Bozeman, MT 59715

Phone (406) 548-7200

ed@angwinlaw.com

Martin Walker, PC (Orthopaedic Implants)

522 S. Broadway, Suite 200

Tyler, Texas 75702

Phone (903) 526-1600

jwalker(@martinwalkerlaw.com

0114. John D Jarrell, PhD, PE info(@materialsscience.org 1(800) 672-6721

Page |16
M, SA MATERIALS SCIENCE ASSOCIATES, LLC

Remit to: 1921 Middle Road, East Greenwich, Rhode Island 02818
Cell (401) 290-8823 Fax: (401) 667-0993 TF: (800) 672-6721

RATE SCHEDULE *
PROFESSIONAL SUPPORT:
Engineering & Medical Analysis, Site Inspections, Travel and Expert Opinions
Commercial hourly rate and Technicians quote
LITIGATION SUPPORT:
John D. Jarrell, PhD, PE
Travel $395/hr
Inspections & analysis $495/hr
Depositions (retainer, Min. 6 hours billed, in advance) $650/hr
Trials (retainer, Min. 8 hours billed, in advance) $650/hr

*Non-refundable initial fee to retain promise of availability for analysis: $8910

Jay M. Vincelli, MSc

Travel $295/br
Inspections & analysis $365/br
Depositions (retainer, Min. 4 hours billed, in advance) $500/hr
Trials (retainer, Min. 8 hours billed, in advance) $500/hr
Surgeons & Specialists
Travel (limited availability} $650/hr
Analysis & review $650/hr
Depositions (retainer, Min. 4 hours billed, in advance) $650/hr
Trials (retainer, Min. 8 hours billed, in advance) $650/hr
*Non-refundable fee to retain promise of availability, quoted per case and expert
Lab Technicians $150-250/hr
Account Administrators
Case Management and Administrative Services $250/hr

*Initial retainer fees are non-refundable, as well as advance payments for depositions & trials. Retainer fees are to secure
the experts promise of “availability” to work on a case independent of services performed. Refunds are not given under any
circumstances, including cases that settle before work is performed, settlements before an inspection or settlements before
issuance of a report, deposition or trial. Inspections and analysis are however billed against the retainer. Cancellations made
less than 10 days prior to travel for inspection, deposition or trial engagement are billed at 50%, and 100% for cancellations 72
hours or less in advance, with 8 hour minimum per day for cancelled air travel. Additional expenses, travel, supplies and rush
services are billed separately from our rates. Travel Policy: actual expenses reasonably and necessarily incurred for First Class
air travel (business when available} and subsistence incurred. Air travel and hotels paid in advance by client or a 15% charge is
added to the total. Travel is billed portal-to-portal. We review records before invoices are sent out, and sometimes make
adjustments to avoid a disparity between the time charges and the services rendered or the results achieved. The client agrees to
inform expert when the case or matter is closed or settles. Storage fees for evidence and documents are charged separately.

Understood and Agreed:
Signature Date
Name Firm Address

*Prices and terms subject to change without notice. EIN# 26-41 17410, CCR registered Federal contractor (DUNS:087605072)

and  Jfohn D Jarrell, PhD, PE info(@materialsscience.org 1(800) 672-6721 Page {17

